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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-508-01-BAH
                                     :
v.                                   :
                                     :
LUKE WESSLEY BENDER,                :
                                     :
            Defendant.               :
____________________________________:

                      DEFENDANT’S UNOPPOSED MOTION TO
            FILE DEFENDANT’S SENTENCING MEMORANDUM UNDER SEAL

       Defendant Luke Wessley Bender, through his undersigned counsel, files the present

Unopposed Motion to File Defendant’s Sentencing Memorandum Under Seal, and states as

follows:

       1.       On July 29, 2021, Mr. Bender was arrested by Complaint as to offenses relating to

the events that occurred on January 6, 2021 at the United States Capitol. Since his initial

presentment, Mr. Bender has been in complete compliance with all of his pretrial release

requirements.

       2.       Following a stipulated trial held on December 7, 2022, a sentencing date was

scheduled for Mr. Bender for March 3, 2023.

       3.       In preparation for sentencing, undersigned counsel plans to file a sentencing

memorandum that includes a discussion of medical and mental health treatment that Mr. Bender

has received for diagnosed medical and mental health related conditions (as discussed in the

Presentence Report (see D.E. 99 at ¶¶ 96-100)). This information will be discussed at length in the

Defendant’s sentencing memoranda, in attached treatment records, and in character letters

submitted by his family members. Given the nature of this medical/mental health information and
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the confidential and highly sensitive and personal identifying information contained and discussed

therein, Mr. Bender requests to file his sentencing memorandum and accompanying exhibits under

seal.

        4.     Undersigned counsel has conferred with counsel for the Government and

Government counsel informs undersigned counsel that the Government does not oppose Mr.

Bender’s request to file his sentencing memorandum under seal.

        5.     Accordingly, Mr. Bender requests that he be permitted to file his sentencing

memorandum under seal.

Dated: February 13, 2023                     Respectfully submitted,

                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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